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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 CHERI KIMBERLY MARSH,

                        Petitioner,

 v.                                                    Civil Action No. 5:05CV167
                                                       Criminal Action No. 5:04CR36-2
 UNITED STATES OF AMERICA,                             (JUDGE STAMP)

                        Respondent.

                             REPORT AND RECOMMENDATION
                              THAT §2255 MOTION BE DENIED

                                        I. INTRODUCTION

        On September 27, 2005, pro se petitioner filed a Motion Under 28 U.S.C. § 2255 to

 Vacate, Set Aside or Correct Sentence by a Person in Federal Custody. The Government filed its

 response December 19, 2005.

                                              II. FACTS

 A.     Conviction and Sentence

        On January 17, 2005, Petitioner signed a plea agreement by which she agreed to plead

 guilty to Count 2, aiding and abetting the distribution of more that 5 grams of cocaine base, in

 violation of Title 21, United States Code, Section 841(a)(1), 841(b)(1)(B), and Title 18, United

 States Code, Section 2. In the plea agreement, the parties stipulated to and agreed that the total

 drug relevant conduct of the petitioner was the equivalent of between 500 grams and 2 kilograms

 of cocaine. Paragraph 2 of the plea agreement set forth that the defendant was exposed, by virtue

 of her plea of guilty, to a term of imprisonment for a period of at least five (5) years but not more

 than forty (40) years, a fine of $2,000,000, a term of at least four (4) years supervised release,

 and a mandatory special assessment of $100.00. Additionally, the petitioner waived her right to
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 appeal and to collaterally attack her sentence. Specifically, the petitioner’s plea agreement

 contained the following language regarding her waiver:

                 10.     Ms. Marsh is aware that Title 18, United States Code,
                 Section 3742 affords a defendant the right to appeal the sentence
                 imposed. Acknowledging all this, the defendant knowingly waives
                 the right to appeal any sentence within the maximum provided in
                 the statute of conviction (or the manner in which that sentence was
                 determined) including any enhancements under Section 4B1.1 of
                 the Guidelines, on the grounds set forth in Title 18, United States
                 Code, Section 3742, or on any ground whatsoever, in exchange for
                 the concessions made by the United States in this plea agreement.
                 The defendant also waives her right to challenge her sentence or
                 the manner in which it was determined in any collateral attack,
                 including, but not limited to, a motion brought under Title 28,
                 United States Code, Section 2255 (habeas corpus). If the Court
                 departs upward or downward from the guideline range, the party
                 opposing the departure has the right to appeal the departure.
                 However, neither party has the right to appeal the Court’s denial of
                 either an upward or downward departure. Otherwise than stated
                 herein, in exchange for defendant’s waiver, the United States
                 waives its right to appeal. The parties have the right during an
                 appeal to argue in support of the sentence.

       On January 20, 2005, the petitioner entered her plea in open court. Petitioner was 41 years

 old and educated to the eleventh grade. (Plea transcript p. 4) Petitioner stated she understood and

 agreed with all the terms and conditions of the plea agreement. (Id. at 9) The Court specifically

 asked if petitioner understood the waiver of appellate and post-conviction relief rights. (Id. at 10-

 11) The Court asked petitioner’s counsel if he believed petitioner understood the waiver of

 appellate and post-conviction relief rights. (Id. at 11) The Court then reviewed all the rights

 petitioner was giving up by pleading guilty. (Id. at 13-17) During the plea hearing, the

 Government presented the testimony of Special Agent Robert L. Manchas, to establish a factual

 basis for the plea. (Id. at 18-21 ) The petitioner did not contest the factual basis of the plea.

       After the Government presented the factual basis of the plea, the petitioner advised the

 Court that she was guilty of Count 2 of the indictment. (Id. at 21) The petitioner further stated



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 under oath that no one had attempted to force her to plead guilty, and that she was pleading

 guilty of her own free will. (Id. at 21) In addition, she testified that the plea was not the result of

 any promises other than those contained in the plea agreement. (Id. at 22) The petitioner testified

 that her attorney had adequately represented her, and that her attorney had left nothing undone.

 (Id.) Finally, petitioner said he was in fact guilty of the crime to which he was pleading guilty

 (Id. at 23).

       At the conclusion of the hearing, the Court determined that the plea was made freely and

 voluntarily, that the petitioner understood the consequences of pleading guilty; and that the

 elements of Count 2 were established beyond a reasonable doubt. (Id. at 23) The petitioner did

 not object to the Court’s finding.

         On March 10, 2005, the petitioner appeared before the Court for sentencing. After

 considering several factors, including the circumstances of both the crime and the defendant, and

 the sentencing objectives of punishment, the Court sentenced the petitioner to a term of 37

 months imprisonment.

 B.      Appeal

         The petitioner did not pursue a direct appeal.

 C.      Federal Habeas Corpus

         Petitioner contends that the Court imposed an unreasonable sentence in this case because

 it based the term of imprisonment solely on the range recommended by the advisory sentencing

 guidelines. Furthermore, petitioner claims that her sentence should be reduced because the Court

 unreasonably overstated the seriousness of the offence, did not consider the fact that petitioner is

 a first time, non-violent offender, did not reflect that petitioner cooperated fully with D.E.A

 Agent Kevin Cecil, did not reflect that petitioner’s history of domestic violence or history of




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 mental illness. Additionally, the petitioner alleges that she had an agreement with D.E.A Agent

 Kevin Cecil in which he assure her that, for her cooperation, she would receive no prison time

 but placement in a treatment center for her drug addiction.

        The Government contends that the plea hearing clearly established that the petitioner

 knowingly, voluntarily, and intelligently entered into a waiver of appellate and post-conviction

 relief rights as part of the plea agreement. The Government indicates that during the plea hearing

 the petitioner denied the existence of any side deals or agreements with other government

 officials. The Government further asserts that the petitioner was fully aware of the applicable

 sentencing guidelines. Also, the Government indicates that the sentence departs below the

 statutory minimum sentence.

 D.     Recommendation

        Based upon a review of the record, the undersigned recommends that the petitioner’s

 §2255 motion be denied and dismissed from the docket because petitioner knowingly,

 intelligently, and voluntarily waived the right to collaterally attack the conviction.

                                           III. ANALYSIS

        “[T]he guilty plea and the often concomitant plea bargain are important components of

 this country’s criminal justice system. Properly administered, they can benefit all concerned.”

 Blackledge v. Allison, 431 U.S. 63, 71 (1977). However, the advantages of plea bargains “can be

 secure . . . only if dispositions by guilty plea are accorded a great measure of finality.” Id. “To

 this end, the Government often secures waivers of appellate rights from criminal defendants as

 part of their plea agreement.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005).

        In United States v. Attar, 38 F.3d 727 (4th Cir. 1994), the Fourth Circuit found that “a

 waiver-of-appeal-rights provision in a valid plea agreement is enforceable against the defendant




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 so long as it is the result of a knowing and intelligent decision to forgo the right to appeal.” Attar

 at 731. The Fourth Circuit then found that whether a waiver is knowing and intelligent “depends

 upon the particular facts and circumstances surrounding [its making], including the background,

 experience, and conduct of the accused.” Id. After upholding the general validity of a waiver-of-

 appeal-rights provision, the Fourth Circuit noted that even with a waiver-of-appeals-rights

 provision, a defendant may obtain appellate review of certain limited grounds. Id. At 732. For

 example, the Court noted that a defendant “could not be said to have waived his right to appellate

 review of a sentence imposed in excess of the maximum penalty provided by statute or based on

 a constitutionally impermissible factor such as race.” Id. Nor did the Court believe that a

 defendant “can fairly be said to have waived his right to appeal his sentence on the ground that

 the proceedings following the entry of the guilty plea were conducted in violation of the Sixth

 Amendment right to counsel.” Id.

         Subsequently, in United States v. Lemaster, supra, the Fourth Circuit saw no reason to

 distinguish between waivers of direct appeal rights and waivers of collateral attack rights.

 Lemaster, 403 F.3d at 220. Therefore, like waiver-of-appeal-rights provision, the Court found

 that the waiver of the right to collaterally attack a sentence is valid as long as it is knowing and

 voluntary. Id. And, although, the Court expressly declined to address whether the same

 exceptions apply since Lemaster failed to make such an argument, the court stressed that it “saw

 no reason to distinguish between waivers of direct-appeal rights and waivers of collateral-attack

 rights.” Id. at n. 2.

         Based on these cases, it appears that ineffective assistance of counsel claims are barred

 by a valid waiver, to the extent that the facts giving rise to the claims occurred prior to the

 defendant entering his guilty plea. Only claims arising after the entry of the guilty plea may fall




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 outside the scope of the waiver. Lemaster, 403 F.3d at 732 (it cannot be fairly said that a

 defendant “waived his right to appeal his sentence on the ground that the proceedings following

 entry of the guilty plea were conducted in violation of the Sixth Amendment right to counsel, for

 a defendant’s agreement to waive appellate review of his sentence is implicitly conditioned on

 the assumption that the proceedings following entry of the plea will be conducted in accordance

 with constitutional limitations”).

        Therefore, when reviewing an ineffective assistance of counsel claim in a case where

 there is a waiver of collateral-attack rights in a plea agreement, we must first determine whether

 there is valid waiver. In doing so,

                  The validity of an appeal waiver depends on whether the defendant
                  knowingly and intelligently agreed to waive the right to appeal.
                  Although this determination is often made based on adequacy of
                  the plea colloquy -- specifically, whether the district court
                  questioned the defendant about the appeal waiver – the issue
                  ultimately is evaluated by reference to the totality of the
                  circumstances. Thus, the determination must depend, in each case,
                  upon the particular facts and circumstances surrounding that case,
                  including the background, experience, and conduct of the accused.

 United States v. Blick, 408 F.3d 162, 169 (4th Cir. 2005) (internal citations and quotations

 omitted).

 In other words, the Court must examine the actual waiver provision, the plea agreement as a

 whole, the plea colloquy, and the defendant’s ability to understand the proceedings. Id. If the

 Court finds that the waiver is valid, any IAC claims arising prior to the plea agreement are barred

 by the waiver.

        As to any IAC claims made regarding an attorney’s action, or lack thereof, after the plea

 agreement, the Fourth Circuit has stated, “[w]e do not think the general waiver of the right to

 challenge” a sentence on the ground that “the proceedings following entry of the guilty plea –




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 including both the sentencing hearing itself and the presentation of the motion to withdraw their

 pleas – were conducted in violation of their Sixth Amendment right to counsel.” Lemaster, 403

 F.3d at 732-33. Therefore, upon first blush it appears that IAC claims arising after the guilty plea

 and/or during sentencing, are not barred by a general waiver-of appeal rights.

        However, several courts have distinguished IAC claims raised in a § 2255 case, from

 those raised on direct appeal. In Braxton v. United States, 358 F.Supp.2d 497 (W.D Va. 2005),

 the Western District of Virginia noted that although the Fourth Circuit has yet to define the scope

 of waiver of collateral rights, several courts have held that § 2255 waivers should be subject to

 the same conditions and exceptions applicable to waivers of the right to file a direct appeal.

 Braxton at 502 (citing United States v. Cannady, 283 F.3d 641,645 n. 3 (4th Cir. 2000)

 (collecting cases); Butler v. United States, 173 F.Supp.2d 489, 493 (E.D. Va. 2001)).

 Nonetheless, the Western District of Virginia, distinguished the types of IAC claims available on

 direct appeal from those available in a § 2255 motion. Specifically, the Court noted:

                         Appellate courts rarely hear ineffective assistance of
                counsel claims on direct review. Indeed, ‘[i]t is well settled that a
                claim of ineffective assistance should be raised in a 28 U.S.C. §
                2255 motion in the district court rather than on direct appeal,
                unless the record conclusively shows ineffective assistance.’
                United States v. King, 119 F.3d 290, 295 (4th Cir. 1997).
                Therefore, the waiver exception recognized in Attar applies only to
                a very narrow category of cases. In contrast, a rule that defendants
                are unable to waive their right to bring an ineffective assistance
                claim in a § 2255 would create a large exception to the scope of §
                2255 waivers. In fact, such an exception would render all such
                waivers virtually meaningless because most habeas challenges can
                be pressed into the mold of a Sixth Amendment claim on collateral
                review. The Fifth Circuit has recognized this dynamic by noting
                that ‘[i]f all ineffective assistance of counsel claims were immune
                from waiver, any complaint about process could be brought in a
                collateral attack by merely challenging the attorney’s failure to
                achieve the desired result. A knowing and intelligent waiver should
                not be so easily evaded.’ United States v. White, 307 F.3d 336, 344
                (5th Cir. 2002).



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 Braxton at 503.

         The Western District of Virginia further noted that the Tenth Circuit has also

 distinguished collateral-attack waivers from the situation in Attar and that the Fourth Circuit’s

 holding in United States v. Broughton-Jones, 71 F.3d 1143,1147 (4th Cir. 1995), also supports

 such a distinction. Braxton at 503, n. 2. Finally, the Braxton Court found it persuasive that the

 majority of circuits to have confronted this question “have held that collateral attacks claiming

 ineffective assistance of counsel that do not call into question the validity of the plea or the §

 2255 waiver itself, or do not relate directly to the plea agreement or the waiver, are waivable.”

 Id. at 503. (collecting cases).

                                       IV. Recommendation

         Based upon a review of the record, the undersigned recommends that the petitioner’s

 §2255 motion be denied and dismissed from the docket because petitioner knowingly,

 intelligently, and voluntarily waived the right to collaterally attack the conviction. Additionally,

 the Court made a downward departure from the applicable sentencing guideline range by

 granting a motion for substantial assistance.

         Within ten (10) days after being served with a copy of this report and recommendation,

 any party may file with the Clerk of Court written objections identifying those portions of the

 recommendation to which objection is made and the basis for such objections. A copy of any

 objections shall also be submitted to the Honorable Frederick P. Stamp, United States District

 Judge. Failure to timely file objections to this recommendation will result in waiver of the right

 to appeal from a judgment of this Court based upon such recommendation. 28 U.S.C. §

 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985):

 United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).




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        The Clerk is directed to mail a copy of this Report and Recommendation to the pro se

 plaintiff and counsel of record, as applicable.

        DATED: June 13, 2007



                                                       ____/s/__James E. Seibert___________
                                                       JAMES E. SEIBERT
                                                       UNITED STATES MAGISTRATE JUDGE




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